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IN THE UNITED STATES DISTRICT COURT ~
FOR THE DISTRICT OF MARYLANDiLY -8 Pi} 5:21

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CHANTE CHAPPELL Pe eerie

Plaintiff OY cern PEEUTY

v. Civil Action No. ELH-18-3328
BALTIMORE COUNTY PUBLIC
SCHOOLS

Defendants.

 

ORDER
Upon consideration of plaintiffs motion (ECF 18) for an extension of time to file an
amended complaint, it is, this 8th day of May, 2019:
ORDERED that the motion (ECF 18) is GRANTED, and it is further
ORDERED that plaintiffs response is due no later than June 9, 2019.
Provided, however, that by May 17, defendant may move to rescind this Order as

improvidently granted.

/s/
Ellen Lipton Hollander
United States District Judge
